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           ORDERED in the Southern District of Florida on April 11, 2025.




                                                                 Laurel M. Isicoff, Judge
                                                                 United States Bankruptcy Court
___________________________________________________________________________



                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA

            In re:     Amirys Dianet Hernandez                                 Case No.: 24-22325-LMI
                                                                               Chapter 7
                                Debtor(s)                    /

              ORDER GRANTING MOTION TO FILE THE REAFFIRMATION AGREEMENT

                     THIS CAUSE came before the Court on April 2, 2025, upon Debtor’s Motion to Vacate
           the Discharge Order for the Sole Purpose of Filing the Reaffirmation Agreement with Chase
           Mortgage (herein “Motion”; ECF#17). The Court having reviewed the Motion and the record
           herein, being otherwise fully advised, it is
                     ORDERED as follows:
                     1. The Motion is GRANTED in part and denied in part as follows:
                     2. Pursuant to the uncontested proffer at the hearing, the Court finds that the Debtor and
                        Chase Mortgage (herein “Creditor”) entered into a valid reaffirmation agreement prior
                        to the discharge being issued.
                     3. Because the reaffirmation agreement was entered into prior to discharge, even though
                        signatures were not finalized, the agreement is enforceable.
                     4. The request to vacate the discharge order is DENIED. The Court will only vacate a
                        discharge under very limited circumstances not present here.
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         5. The Debtor and Creditor shall be given thirty (30) days from the date of this Order to
             file the signed reaffirmation agreement.
         6. The clerk is directed to close the case upon the filing of the reaffirmation agreement.
                                                       ###
Copy furnished to: JOSE A. BLANCO, P.A., Jose A. Blanco | FBN: 062449, Attorney for Debtor(s), 102 E 49th
ST, Hialeah, FL 33013, Tel. (305) 349-3463, E-Mail: jose@blancopa.com

Attorney Blanco is directed to serve this order upon all non-registered users or registered users who have yet to appear
electronically in this case and file a conforming certificate of service.
